                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
               v.                               )           No. 15-06004-10-CR-SJ-DGK
                                                )
TAYLOR LEE SYAS,                                )
                                                )
               Defendant.                       )

                            ACCEPTANCE OF GUILTY PLEA AND
                                ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer (Doc. 464), the plea of guilty by the Defendant to Counts Three, Five, and Six, and the

Forfeiture Allegation of the Superseding Indictment is now accepted and the Defendant is adjudged

guilty of such offenses. Sentencing will be set by subsequent order of the Court.


                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: June 27, 2017




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